Case 2:04-cr-20411-SH|\/| Document 43 Filed 07/18/05 Page 1 of 2 Page|D 47

 

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IN THE UNITED STATES DISTRICT coURT " °'°-
FoR THE wEsTERN DISTRICT oF TENNESSEE USJUL 18
wEsTERN DIvIsIoN M"'H
UNITED STATES oF AMERICA, ` WJD{;H§MSW
vs. NO. 04-20411-Ma
LARRY HILL,
Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the government’s July 15, 2005, motion
to reset the sentencing of Larry Hill, which is presently set for
July 18, 2005. For good cause shown, the motion is granted.

The Sentencing of defendant Larry Hill is reset to Tuesday,

August 2, 2005, at 1330 p.m.

lt is So oRDERED this /Mday of July, 2005.

y ///WL__

SAMUEL H. MAYS, JR.
U`NI'I'ED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
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July 20, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

